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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                   8:03CR36
                                            )
              v.                            )
                                            )
FABIAN FERNANDEZ-HILDALGO,                  )                    ORDER
                                            )
                     Defendant.             )
                                            )


       The government has filed a motion for hearing pursuant to Federal Rule of

Criminal Procedure 35(b). Filing No. 259.

       IT IS ORDERED that:

       1.   Counsel for the government shall notify the court when the motion pursuant

to Rule 35(b) is ripe for decision. The motion shall not be decided until counsel for the

government certifies that the motion is ripe.

       2. Counsel for the defendant, if previously appointed pursuant to the Criminal

Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b)

motion. If retained, counsel for the defendant remains as counsel for the defendant

until the Rule 35(b) motion is resolved or until given leave to withdraw.

       DATED this 2nd day of May, 2005.

                                          BY THE COURT:



                                          s/Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge
